 Case 1:18-cr-00457-AJT Document 186 Filed 06/06/19 Page 1 of 4 PageID# 1752



                          81,7('67$7(6',675,&7&2857
                      )257+(($67(51',675,&72)9,5*,1,$
                                 $OH[DQGULD'LYLVLRQ

81,7('67$7(62)$0(5,&$                        
                                                 
Y                                                  &ULPLQDO&DVH1R&5 $-7
                                                 
%,-$15$),(.,$1HWDO                          


     '()(1'$17%,-$15$),(.,$1¶6027,21)25$1(9,'(17,$5<+($5,1*

        'HIHQGDQW5DILHNLDQWKURXJKFRXQVHOKHUHE\UHVSHFWIXOO\UHTXHVWVWKDWWKLV&RXUWKROG

DQHYLGHQWLDU\KHDULQJRQ-XQHLQFRQQHFWLRQZLWKWKHJRYHUQPHQW¶VFULPHIUDXG

PRWLRQV>(&)1RDQG@7KHJURXQGVIRUWKLVPRWLRQDUHVHWIRUWKLQWKHDFFRPSDQ\LQJ

PHPRUDQGXPRIODZ$SURSRVHGRUGHULVDWWDFKHGWRWKLVPRWLRQ

        'HIHQGDQWUHVSHFWIXOO\UHTXHVWVWKDWWKH&RXUWKHDUWKLVPRWLRQRQ-XQHDW

DPRUDWVXFKWLPHDVWKH&RXUWPD\GLUHFW

'DWHG-XQH                                  5HVSHFWIXOO\VXEPLWWHG

                                                     /s/
                                                     0DUN-0DF'RXJDOO Pro Hac Vice
                                                     6WDFH\+0LWFKHOO Pro Hac Vice
                                                     -RKQ&0XUSK\ Pro Hac Vice
                                                     $GDP$%HUHVWRQ 3UR+DF9LFH
                                                     6DPDQWKD-%ORFN 3UR+DF9LFH
                                                     Counsel for Bijan Rafiekian
                                                     $NLQ*XPS6WUDXVV+DXHU )HOG//3
                                                     .6WUHHW1:
                                                     :DVKLQJWRQ'&
                                                     7HOHSKRQH  
                                                     )D[  
                                                     (PDLOPPDFGRXJDOO#DNLQJXPSFRP
                                                             VKPLWFKHOO#DNLQJXPSFRP

                                                     /s/
                                                     5REHUW37URXW 9$%DU
                                                     Counsel for Bijan Rafiekian
                                                     7URXW&DFKHULV 6RORPRQ3//&
                                                     (\H6WUHHW1:
    Case 1:18-cr-00457-AJT Document 186 Filed 06/06/19 Page 2 of 4 PageID# 1753



                                            6XLWH
                                            :DVKLQJWRQ'&
                                            7HOHSKRQH  
                                            )D[  
                                            (PDLOUWURXW#WURXWFDKFHULVFRP


































                         




                                          

    Case 1:18-cr-00457-AJT Document 186 Filed 06/06/19 Page 3 of 4 PageID# 1754





                                 &(57,),&$7(2)6(59,&(

       ,KHUHE\FHUWLI\WKDWRQWKHWKGD\RI-XQHWUXHDQGJHQXLQHFRSLHVRI'HIHQGDQW

5DILHNLDQ¶V0RWLRQIRUDQ(YLGHQWLDU\+HDULQJZHUHVHQWYLDHOHFWURQLFPDLOE\WKH&RXUW¶V

&0(&)V\VWHPWRWKHIROORZLQJ

        -DPHV3*LOOLV
        -RKQ7*LEEV
        (YDQ17XUJHRQ
        86$WWRUQH\¶V2IILFH $OH[DQGULD1$ 
        -DPLHVRQ$YHQXH
        $OH[DQGULD9$
        7HOHSKRQH  
        (PDLOMDPHVSJLOOLV#XVGRMJRY
               MRKQJLEEV#XVGRMJRY
             HYDQWXUJHRQ#XVGRMJRY
        
                                                      
                                                      
                                                      
                                                      
                                                             /s/                      
                                                         5REHUW37URXW 9$%DU 
               
               
               
               
               
               
               
               
               
               
               
               
               
               
               
               
               




                                                 

    Case 1:18-cr-00457-AJT Document 186 Filed 06/06/19 Page 4 of 4 PageID# 1755



                          81,7('67$7(6',675,&7&2857
                       )257+(($67(51',675,&72)9,5*,1,$
                                  $OH[DQGULD'LYLVLRQ
         
81,7('67$7(62)$0(5,&$                  
                                  
Y                                     &ULPLQDO&DVH1R&5 $-7 
                                  
%,-$15$),(.,$1HWDO              

                                >352326('@25'(5
                                               
    8SRQFRQVLGHUDWLRQRI'HIHQGDQW¶V0RWLRQIRUDQ(YLGHQWLDU\+HDULQJWKHPHPRUDQGXP

LQVXSSRUWWKHUHRIDQ\RSSRVLWLRQWKHUHWRDQ\UHSO\LQIXUWKHUVXSSRUWWKHUHRIDQGWKHHQWLUHUHFRUG

KHUHLQIRUJRRGFDXVHVKRZQLWLVWKLVBBBBBGD\RIBBBBBBBBBKHUHE\

       25'(5('WKDWWKH0RWLRQLV*5$17('DQGLWLVIXUWKHU

       25'(5('WKDWWKH&RXUWZLOOKROGDQHYLGHQWLDU\KHDULQJRQ-XQHDWDP

RQWKHJRYHUQPHQW¶VFULPHIUDXGPRWLRQV>(&)1RVDQG@

       6225'(5('



                                                        BBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                        7KH+RQRUDEOH$QWKRQ\-7UHQJD
                                                        8QLWHG6WDWHV'LVWULFW-XGJH





                                                   

